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                                 EXHIBIT 4
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                 IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                            TAMPA DIVISION

 MUTUAL OF OMAHA
 MORTGAGE, INC.

                 Plaintiff,
 v.                                           CASE NO. 8:22-cv-01660-TPB-JSS
 WATERSTONE MORTGAGE
 CORPORATION,

                 Defendant.

      NOTICE OF FEDERAL RULE 30(B)(6) DEPOSITION OF PLAINTIFF
                MUTUAL OF OMAHA MORTGAGE, INC.

TO:    Mutual of Omaha Mortgage, Inc.
       c/o Christopher L. McCall, Esq.
       1120 20th Street, NW, Suite 725
       Washington, DC 20036
       cmccall@mitchellsandler.com

       John A. Schifino, Esq.
       Gunster, Yoakley & Stewart, P.A.
       401 East Jackson Street, Suite 1500
       Tampa, Florida 33602
       jschifino@gunster.com

       PLEASE TAKE NOTICE that on April 28, 2023, beginning at 9:00 a.m.,

Waterstone Mortgage Corporation will take the deposition of the officers, agents, or

other persons that Mutual of Omaha Mortgage, Inc. (“Mutual”) designates pursuant

to Federal Rule of Civil Procedure 30(b)(6) to testify as to all matters known or are

reasonably available to it relating to the subject matters in Exhibit A. The deposition

will take place at Hill Ward Henderson, 101 E. Kennedy Blvd., Suite 3700, Tampa,
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FL 33602, before a qualified notary public authorized to administer oaths and will

continue from day to day until completed.

 Dated: April 7, 2023.

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                                      carolina.blanco@hwhlaw.com
                                      Attorneys for Defendant Waterstone Mortgage
                                      Corporation
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                                           EXHIBIT A
Damages

    1. The damages sought by Mutual, including the calculation and basis of all such
       alleged damages.

    2. The relationship between Mutual’s alleged damages and the documents
       Mutual designated in its March 10, 2023 Amended Response to Interrogatory
       No. 1 (which states “Itemize Your damages, including the formula used to
       calculate those damages”).

    3. The analysis set forth in the “Summary of Corporate Earnings Contribution
       from Tampa and Daytona Branches” produced by Mutual as MOM-0003484.

    4. The annual loan volume and revenue generated by Dwayne Hutto, Chris
       Wolf, and Chris Smith for 2019, 2020, 2021, and 2022 (until the time of their
       departure from Mutual in 2022).

    5. The loans Mutual contends the “Departed Employees”1 and/or Waterstone
       closed with WaterStone, for which Mutual seeks recourse, including the
       borrowers associated with the loans, the loan amount, the factual basis for
       Mutual’s claims based on the loans, and the associated damages, if any.

    6. All loans:

           a. originated by the Departed Employee(s) while still employed by
              Mutual of Omaha at its Ormond Beach branch, which closed with
              Mutual of Omaha on or after April 15, 2022.

           b. originated by Departed Employee(s) while still employed by Mutual of
              Omaha at its Tampa and Paramus branches, which closed with Mutual
              of Omaha on or after June 15, 2022.

    7. Mutual’s revenue and net income from 2019 through the present and its
       projected revenue and net income for 2023.

Trade Secrets & Confidential Information

    8. The alleged trade secrets Mutual relies upon and the grounds for Mutual’s
       contention that such information is a trade secret.



1
 “Departed Employee” refers to any former Mutual of Omaha employee of the Tampa, Ormond Beach, or
Paramus branches who resigned to work at Waterstone.
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   9. All evidence Mutual relies upon to contend Waterstone played a role in the
      Departed Employees’ alleged taking or disclosure of confidential information
      and trade secrets. See, e.g., Am. Compl. ¶¶ 35-42.

   10. All evidence Mutual relies upon to contend Waterstone itself used Mutual’s
       alleged trade secrets or confidential information.

   11. All evidence Mutual will rely upon to contend it suffered damages from the
       misappropriation of its confidential information or trade secrets, as well as the
       amount of such alleged damages.

   12. All evidence Mutual relies upon to contend Waterstone “willfully and
       maliciously” misappropriated its confidential information and trade secrets
       and is therefore liable for exemplary damages. See e.g. Am. Compl. ¶ 76.

Breach of Employment Agreements

   13. All evidence Mutual will rely upon to contend Waterstone encouraged and
       assisted the Departed Employees to breach their employment agreements with
       Mutual. See e.g. Am. Compl. ¶¶ 17-34.

   14. Mutual’s allegations in the Amended Complaint that the Departed Employees
       diverted clients to Waterstone and that Waterstone encouraged and assisted in
       those efforts. See, e.g., Am. Compl. ¶¶ 43-65.

   15. The particular Departed Employees Mutual contends were solicited, the facts
       surrounding the solicitation (including manner and timing of the solicitation
       and the persons involved), and the basis for Mutual’s claim that Waterstone
       was involved in any such solicitation.

   16. The particular real estate agents and other referral sources Mutual contends
       were solicited, the facts surrounding the solicitation (including manner and
       timing of the solicitation and the persons involved), and the basis for Mutual’s
       claim that Waterstone was involved in any such solicitation.

Mutual’s Practices and Commissions

   17. Mutual’s practices and procedures for onboarding new loan officers, including
       practices and procedures regarding loans in process with a prior employer,
       contact with customers, and confidential information.

   18. The circumstances surrounding Dwayne Hutto, Chris Wolf, and Chris Smith
       becoming employees of Mutual, including recruitment and onboarding.
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    19. Whether and when Mutual paid the Departed Employees commissions on all
        loans responsive to No. 6, above, and the amount of commission paid (or
        unpaid) with respect to each loan.

Discovery Efforts

    20. Mutual’s written responses to WaterStone’s discovery and the completeness of
        Mutual’s document production, including efforts to search for and collect
        responsive documents and information.
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